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                         Case No. 22-11232-AA

        IN THE UNITED STATES COURT OF APPEALS
               FOR THE ELEVENTH CIRCUIT

                        THEODORE H. FRANK,
                          Objector-Appellant,

                                    v.

                        DAVID WILLIAMS, et al.,
                          Plaintiffs-Appellees,

                  RECKITT BENCKISER, LLC and
                     RB HEALTH (US) LLC,
                      Defendants-Appellees

            Appeal from the United States District Court
                for the Southern District of Florida

                         No. 1:20-cv-23564-MGC

     ANSWER BRIEF OF APPELLEES DAVID WILLIAMS,
     CAROLL ANGLADE, THOMAS MATTHEWS, MARTIZA
            ANGELES, AND HOWARD CLARK

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                            No. 22-11232-AA
               Theodore H. Frank v. David Williams, et al.


              CERTIFICATE OF INTERESTED PERSONS
             AND CORPORATE DISCLOSURE STATEMENT

         Plaintiffs-Appellees certify and do not believe that persons or

entities have been omitted from the CIP contained in the first brief

filed.

                                           /s/ Martha A. Geer
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          STATEMENT REGARDING ORAL ARGUMENT

     Plaintiffs believe that the law applicable to this appeal is well

established and recognized by district courts throughout this Circuit.

Because, however, Appellant seeks to override the existing Eleventh

Circuit precedent and asserts, as a basis for oral argument, that the

issues on appeal “pit the district court’s decision against the plain text

of the Rule and the decisions of other Circuits” (emphasis added),

Plaintiffs would respectfully request an opportunity to present oral

argument regarding why this Circuit’s existing authority remains

controlling. In addition, this case addresses issues of Article III

standing under recent Supreme Court and Eleventh Circuit precedent

that warrant oral argument.




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                     PRELIMINARY STATEMENT

     Beginning at least 23 years ago when this Court decided Waters v.

Int’l Precious metals Corp., 190 F.3d 1291 (11th Cir. 1999), and perhaps

more accurately 42 years ago when the Supreme Court decided Boeing

v. Van Gamert, 444 U.S. 472 (1980), the law of the Eleventh Circuit has

been that an attorney who has created a fund for a class—even if it is a

reversionary fund or a claims-made fund—is entitled to a percentage of

that fund as attorneys’ fees. The size of the “fund” is not determined by

what is ultimately paid out to class members, but rather by what

attorneys through litigation and negotiation have been able to make

available to the class—the opportunity that attorneys have created for

the class members.

     That principal, as adopted by the Eleventh Circuit, has now been

applied repeatedly by the district courts throughout the Eleventh

Circuit. It is also recognized across the country. Theodore Frank, the

lone objector to the settlement below, urged the District Court to

abandon these established principles—just as he has unsuccessfully

urged courts in other circuits.




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     Although Mr. Frank also unsuccessfully made these same

arguments to this Court previously in Poertner v. Gillette Co., 618 F.

App’x 624 (11th Cir. 2015), he now returns seeking a do-over,

manufacturing a purported “change” in the law that no one else

recognizes, and simply regurgitating the arguments that failed seven

years ago.

     Mr. Frank also invokes this Court’s jurisdiction even though he

has never claimed he was harmed as a result of his purchase of

Defendants’ product and will be fully reimbursed by the settlement. In

short, he has suffered no injury for purposes of Article III standing.

     Even if he had standing, no reason recognized by this Court exists

to revisit the Magistrate Judge’s thorough 108-page Report &

Recommendation (“R&R”).       It addresses all the factors mandated by

this Court and the Federal Rules of Civil Procedure and was only

entered after extensive and repeated briefing that extended over more

than six months and a three-hour hearing. It should be no surprise

that District Court Judge Marcia Cooke determined that the R&R was

thorough and well-reasoned and adopted it as the decision of the Court.

This Court need do no more than determine, consistent with the



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standard of review, that the District Court did not abuse its discretion

when finally approving the parties’ settlement.

                  JURISDICTIONAL STATEMENT

     Because Mr. Frank has failed to establish that he has suffered a

concrete injury, he lacks Article III standing, and this Court lacks

jurisdiction over this appeal.

            STATEMENT OF THE ISSUES ON APPEAL

     1.    Does appellant Theodore Frank have Article III standing to

bring this appeal when (1) he never established at the trial level that he

suffered a concrete harm as a result of purchasing one of Defendants’

product, and (2) he no longer is suffering any injury since he will be

fully reimbursed by the approved settlement for what he paid to buy

Defendants’ product?

     2.    Did the District Court err when, in accordance with Waters

v. Int’l Precious metals Corp., 190 F.3d 1291 (11th Cir. 1999), it

determined that the settlement gave rise to a constructive common fund

composed of the amount the parties had agreed would be available for

class members’ claims ($8 million) plus the amount that the parties had

agreed would be the maximum amount of attorneys’ fees that Class

Counsel could seek from the court ($2.9 million)?

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     3.     Did the District Court abuse its discretion when it

determined that the settlement is fair, reasonable, and adequate under

Rule 23(e)(2) of the Federal Rules of Civil Procedure and the Eleventh

Circuit six-factor Bennett analysis?

     4.     Did the District Court abuse its discretion when it approved

a $2.9 million attorneys’ fee award when the fee fell within the

percentage of the constructive common fund that the Eleventh Circuit

holds is reasonable?

                       STATEMENT OF THE CASE

I.   BACKGROUND OF THE LITIGATION AND MEDIATION.

          A. Plaintiffs’ Pre-suit Investigation.

     Defendants have marketed and sold a line of brain supplement

products called “Neuriva” since only April 2019. Plaintiffs’ class actions

initially addressed Defendants’ marketing claims regarding Neuriva

Original and Neuriva Plus, but later added a third product, Neuriva De-

Stress (collectively “Neuriva” or “Neuriva Products”).              The central

theme in all of Defendants’ marketing and product labelling of the

Neuriva Products is that they contain ingredients that have been

clinically and scientifically “proven” to improve brain performance. D.E.

69-1 ¶ 5.

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     Prior to initiating this litigation, Class Counsel spent substantial

time in pre-suit investigation, including conducting extensive research

into the two active ingredients of Neuriva Original and Neuriva Plus:

coffee   cherry     extract        (branded    “Neurofactor”)      and     soy-based

phosphatidylserine (branded “Sharp PS”).                Counsel investigated the

third-party   suppliers       of    the   ingredients,     their   relationship     to

Defendants, and the claims made by the suppliers. In addition, because

the marketing claims would be central to any case against Defendants,

Class Counsel did a comprehensive investigation into Defendants’

marketing     and      advertising        campaigns,        including      television

commercials, in print, on their website, and on social media. Class

Counsel also collected and reviewed not only the scientific and clinical

studies cited in Defendants’ marketing, but scores of other clinical and

scientific studies relevant to Neuriva’s ingredients and relevant to the

falsity of Defendants’ marketing claims that the ingredients were

“clinically proven” to enhance brain performance. D.E. 69-1 ¶ 6.

     In addition, Class Counsel retained and consulted a highly

respected expert in neuroscience, pharmacology, and physiology

regarding the state of the relevant scientific literature and biochemistry



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mechanisms relevant to the Neuriva active ingredients. Class Counsel

also retained a second equally well-regarded biostatistician to advise

them on scientific test design and statistical analysis, especially with

regard to studies performed on coffee cherry extract. D.E. 69-1 ¶ 7.

     Once Class Counsel had progressed sufficiently with the pre-suit

investigation, Counsel spent many hours interviewing consumers who

had purchased Neuriva Products in order to identify strong candidates

who would properly discharge their fiduciary duties as class

representatives. Interviews with other consumers provided information

regarding consumers’ reactions to and reliance on the claims

Defendants were making. D.E. 69-1 ¶ 8.

     Class Counsel also carefully reviewed relevant state and federal

law, including federal regulations and relevant FDA and FTC guidance

regarding dietary supplements. Class Counsel further reviewed the

filings and court decisions in similar litigation addressing comparable

supplements in order to identify legal and factual issues likely to arise

in the Neuriva litigation.       Once Class Counsel had identified

appropriate class representatives, Counsel then fully researched the

law in California, Florida, and New York. D.E. 69-1 ¶ 9.



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     B. The Course of the Neuriva Litigation.

     On June 19, 2020, Plaintiff Thomas Matthews filed a class action

in the Eastern District of California alleging claims on behalf of a

California class under the California consumer protection statutes, on

behalf of a multi-state class under multiple state consumer protection

statutes, and on behalf of a nationwide class for unjust enrichment.

D.E. 69-1 ¶ 10. Unfortunately, no judge was assigned to the Matthews

case because of an “ongoing judicial emergency in the Eastern District

of California.” No. 1:20-CV-00854, D.E. 3-2 (June 22, 2020).

     Plaintiffs David Williams and Caroll Anglade filed their class

action complaint on August 26, 2020 in the Southern District of Florida,

alleging claims under Fla. Stat. § 501.201 et seq. on behalf of a Florida

class and for unjust enrichment on behalf of a nationwide class. D.E. 1.

Plaintiff Martiza Angeles filed a class action complaint on September 2,

2020, in the Southern District of New York asserting claims on behalf of

a New York class for violations of N.Y. General Business Law § 349 and

for unjust enrichment. Plaintiff Howard Clark did not initially file suit

but sent Defendants a pre-suit demand letter challenging Neuriva’s

marketing representations in May 2020. D.E. 69-1 ¶ 10.



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      Each of the lawsuits alleged that Defendants deceptively

marketed      and   sold    the    brain       supplement      Neuriva    as   having

ingredients—coffee cherry extract and phosphatidylserine—that were

“clinically   proven”      and    “proven”      by   science    to   improve     brain

performance in defined areas (for example, focus, memory, learning,

accuracy, concentration, or reasoning). Plaintiffs alleged, among other

things, that Neuriva’s ingredients were not clinically or scientifically

proven to improve brain performance; that as to some of the

ingredients, Defendants’ claims were biologically not possible; and that

Defendants’ claims overall were false or misleading. D.E. 69-1 ¶11.

      Defendants first moved to dismiss the Matthews action, and, after

counsel fully researched and investigated Defendants’ motion to dismiss

arguments, Plaintiff Matthews filed an Amended Complaint. D.E. 69-1

¶ 13. In the Williams action, although the District Court had entered a

case management order scheduling the case for trial in March 2022,

Defendants moved to transfer the case to the Eastern District of

California under the “first-filed” rule or, alternatively, to stay the

Williams action pending proceedings in the Matthews case. D.E. 69-1 ¶

14. Defendants also filed a motion to dismiss the Williams complaint.



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D.E. 69-1 ¶ 13. The Williams Plaintiffs opposed Defendants’ transfer

motion and, after again fully researching and investigating Defendants’

arguments under Florida and Eleventh Circuit law, filed an Amended

Complaint in response to the motion to dismiss. Id.

     Although Class Counsel believed the complaints in both Matthews

and Williams could withstand the motions to dismiss, Counsel opted to

strengthen their allegations by filing the amended complaints.

Defendants, however, still moved to dismiss the Williams Amended

Complaint. Id.

     Although Defendants’ deadline to respond to the Angeles case had

not run by the time the Parties settled the case, Class Counsel assume

that Defendants would have also filed a motion to stay or transfer in

the Angeles case. D.E. 69-1 ¶ 14. Counsel believed that those motions, if

allowed, would have very substantially delayed the cases from

proceeding. Significantly, even though the Matthews case was filed in

June 2020, no judge had been assigned to the case by the time the

Parties notified the Williams Court in January 2021 that the case had

been settled. D.E. 69-1 ¶ 14; No. 1:20-CV-00854 D.E. 3-2 (June 22,

2020). Ultimately, a judge was finally assigned for the first time in the

Matthews case on January 7, 2022. Id. D.E. 56.


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     The Matthews and Williams actions originally made allegations

concerning only Neuriva Original and Neuriva Plus but were

subsequently amended to include Defendants’ new product Neuriva De-

Stress, which had identical labelling and marketing.              In addition to

coffee cherry extract, Neuriva De-Stress included a new active

ingredient that Defendants called “French Melon Concentrate.” Before

adding Neuriva De-Stress to the lawsuits, Class Counsel consulted with

their pharmacology/neuroscience expert regarding whether “clinical

proof,” as claimed by Defendants, existed that the new ingredient would

in fact have the asserted effect on the brain. D.E. 69-1 ¶ 12.

     Although Class Counsel felt confident in the merits of Plaintiffs’

claims, they also were mindful of the significant hurdles they faced in

reaching a successful adversarial resolution of Plaintiffs’ claims. In the

event litigation had continued, or were to continue, Defendants have

maintained they would continue to seek a Rule 12(b) dismissal of

Plaintiffs’ claims and would aggressively oppose class certification and

opposing the ability of Plaintiffs to represent purchasers of Neuriva

Products that Plaintiffs had not purchased. D.E. 69-1 ¶ 16.

     Class Counsel anticipated that if their motions for class

certification were granted, Defendants would undoubtedly seek an


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interlocutory appeal under Rule 23(f). The scope of discovery would

likely have been hotly contested, and the case assuredly would have

become a costly and time-consuming battle of experts. Id. Indeed,

Defendants retained and submitted declarations from two well-

credentialed experts to address issues arising in the course of the

proceedings seeking final approval of the parties’ settlement.

     Had the cases continued, motion practice would have included not

only motions for summary judgment but also Daubert motions by both

Plaintiffs and Defendants. In all likelihood, any favorable result at trial

would lead to lengthy appeals. D.E. 69-1 ¶ 16.

     And, in the event that the Williams and Angeles cases were stayed

or transferred pending decision in the Matthews case, much of this work

would have been delayed until after January 2022. No. 1:20-CV-00854

D.E. 56. Class Counsel has always been mindful of the fact that, no

matter their level of confidence about ultimately reaching a successful

resolution of these cases, the false and misleading marketing campaign

that prompted the litigation in the first place would continue unabated

for years upon years absent a settlement. D.E. 69-1 ¶ 17.




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      C.   Mediation and Settlement Efforts

      In the fall of 2020, Class Counsel, with the consent of Plaintiffs,

decided to explore the possibility of a mediated settlement while

Neuriva was a relatively new product and before the potential for harm

and damages, the existence of which Defendants disputed, would

drastically increase. The parties agreed to mediate the case on October

2, 2020, with Jill Sperber of Judicate West. Ms. Sperber is a well-

respected mediator whose prior legal practice included litigating

complex cases. Consequently, she is frequently asked to help resolve

complex        civil       cases         like        this         one.          See

https://www.judicatewest.com/adr/jill-sperber; D.E. 69-1 ¶¶ 18-19.

      Prior to the October 2, 2020 mediation, Plaintiffs obtained, under

Rule 408, informal discovery from Defendants regarding the claimed

clinical and scientific bases for Defendants’ labelling and marketing

claims and regarding Neuriva’s historical sales data. In preparation for

the    mediation,      Class   Counsel          consulted   with         Plaintiffs’

pharmacology/neuroscience expert regarding the studies Defendants

provided as part of the informal discovery. Given Class Counsel’s pre-

suit and continuing factual and legal investigation together with the



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informal discovery, Class Counsel was well-informed and prepared to

formulate an appropriate demand and aggressively negotiate a

reasonable resolution of the Class’s claims. D.E. 69-1 ¶ 20.

      The October 2, 2020 mediation lasted into the evening, with both

parties hotly contesting: (a) the merits of each other’s litigation

positions; (b) what settlement structure to adopt; and (c) the scope of

monetary and injunctive relief. The October 2 mediation ended without

a settlement and without an agreement to engage in any future

mediation or negotiations. D.E. 69-1 ¶ 21.

      After the October 2 mediation, Ms. Sperber took the initiative to

attempt to re-engage the parties in discussions about a potential

resolution. With Ms. Sperber acting as an intermediary, the parties

agreed to conduct a second mediation on November 30, 2020. The

November 30 mediation also was hotly contested and again lasted into

the evening, but the parties made significant progress towards a

resolution regarding both monetary and injunctive relief. The parties

finalized a term sheet incorporating the material terms agreed upon

with the assistance of Ms. Sperber at the November 30 mediation. D.E.

69-1 ¶ 22.



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      After the November 30 mediation, the parties continued

negotiations telephonically and were able to reach a final agreement

regarding the remaining details related to the injunctive relief. In order

to prevent Class Members and future purchasers of Neuriva Products

from continuing to be exposed to claims that Neuriva ingredients are

clinically or scientifically proven to improve brain performance, Class

Counsel refused to settle without a change in Neuriva’s labelling and

marketing. The parties did not discuss attorneys’ fees until after they

had reached final agreement on the material terms for the Class. Id.

      Thereafter, the parties continued to engage in discussions related

to the finer details needed for a formal settlement agreement. They

finalized the Settlement Agreement in January 2021. D.E. 69-1 ¶ 23.

      The parties filed a notice of the settlement with the Williams

court on January 7, 2021.        D.E. 47.      On January 20, 2021, in

anticipation of filing the motion for preliminary approval of the

settlement, Plaintiffs joined in filing a Consolidated Amended

Complaint in the Southern District of Florida. D.E. 51. The

Consolidated Amended Complaint involved the same factual claims

regarding Defendants’ false advertising of the three Neuriva Products



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as set out in Matthews, Williams, and Angeles and included multiple

claims made on behalf of consumers in California, Florida, and New

York, as well as an unjust enrichment claim on behalf of a nationwide

class.

         On February 8, 2021, Plaintiffs filed their Motion for Preliminary

Approval of the Proposed Settlement. D.E. 52. The District Court

granted preliminary approval on April 23, 2021. D.E. 57.

         D.   The Terms of the Settlement.

         The Settlement provides relief to a Settlement Class defined as

“[a]ll persons who purchased for personal consumption and not for

resale, one or more of the Neuriva Products, from Reckitt or an

authorized reseller, in the United States, between the dates of January

1, 2019, and the date of Preliminary Approval of the Settlement by the

Court.” (ECF No. 52-1, Ex. 1 ¶ I.Z). The time frame of the Class period

began in January 2019 to capture when Defendants first began selling

Neuriva Products.

         The Settlement Agreement provided both monetary and injunctive

relief to the Settlement Class.




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           1.   Monetary Relief

     The Defendants agreed to pay up to $8,000,000 in monetary relief

to Settlement Class Members, exclusive of administrative costs,

attorneys’ fees and expenses, and court-ordered service awards, for

purchases of Neuriva Products. Settlement Class Members with Proof

of Purchase will receive up to $32.50 per valid claim, and Settlement

Class Members may make up to two claims for a maximum of $65.00.

For those without Proof of Purchase, Settlement Class Members will

receive $5.00 per valid claim, and Settlement Class Members may make

up to four claims for a maximum of $20.00. D.E. 116-1 ¶¶ IV.B.1-5.

           2.   Injunctive Relief

     In addition to monetary relief, the Settlement Agreement also

included proposed injunctive relief, which was subsequently modified by

an Amended Settlement Agreement. D.E. 116. The injunctive relief is

designed to address the main allegations of deceptive advertising raised

in Plaintiffs’ complaint by (1) barring Defendants from stating that the

Neuriva Products or their ingredients are clinically or scientifically

proven to improve brain performance, and (2) barring Defendants from

using the terms “Clinically Tested and Shown,” “clinical studies have

shown” or similar “shown” claims. D.E. 116-1 ¶¶ IV.A.1(a)-(d).


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     The injunctive relief provision also allows both Plaintiffs and

Defendants to seek relief from the Court should the state of the science

change. Consequently, under the terms of the agreement, in the event

that “new research, information, or regulatory or legal developments”

arise that would warrant expanding the injunction to further restrict

Defendants’ marketing statements, Plaintiffs may seek modification of

the injunction from this Court. D.E. 116-1 ¶ IV.A.4.

     Defendants have six months after entry of the Final Approval

Order and Judgment to correct all of their marketing (including label

changes and internet and media advertising), and the agreed-upon

changes will remain in effect for at least two years. D.E. 116-1 ¶ IV.A.3.

At that point, if Defendants attempt to return to their current

“Clinically Proven” and “Scientifically Proven” marketing campaign

without additional scientific or clinical studies supporting their claims,

they would again be subject to suit.

     In exchange for the monetary and injunctive relief provided in the

Settlement Agreement, members of the Settlement Class who did not

timely and validly opt out of the Settlement Class will release and

discharge the Settling Defendants from all claims as outlined in the

Settlement Agreement. D.E. 116-1 ¶ VI.


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           3.    Attorneys’ Fees and Expenses.

     The Settlement Agreement provides that Class Counsel may make

an application to this Court for an award of attorneys’ fees and

expenses in the amount not to exceed $2,900,000.00.              Defendants’

payment of fees and costs to Class Counsel is entirely separate and

apart from the benefits provided to the Settlement Class and will have

no impact on the recovery received by Settlement Class Members. D.E.

116-1 ¶ V.A-B.

     The Parties negotiated and agreed upon attorneys’ fees and costs

only after agreeing on all material terms of the Settlement. In addition,

the effectiveness of the Settlement and the releases is not contingent on

the Court’s approval of the Fee and Expense Award or affected by the

amount of the Fee and Expense Award approved by the Court. D.E. 69-

1 ¶¶ 47-48.

           4.    Notice and Settlement Administration.

     In granting the motion for preliminary approval, the District

Court appointed the Angeion Group to act as the Settlement

Administrator. The Settlement Administrator was responsible for,

among other things: (a) initiating and monitoring the Notice Plan; (b)



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establishing a Post Office box and a dedicated email address for

receiving claims, requests for exclusions, objections, and other

correspondence; (c) establishing a Settlement Website that will not only

contain important documents and information on how to file a claim,

but also be the means by which Settlement Class Members can

electronically file claims; (d) forwarding inquiries to Class Counsel for a

response, if warranted; (e) reviewing Claims in accordance with the

Settlement Agreement; (f) otherwise implementing and/or assisting

with the Claims review protocols agreed to by the Parties and set forth

in the Settlement Agreement; and (g) processing payments on timely

Valid Claims in accordance with the Settlement Agreement. D.E. 116-1

p. 4.

        As detailed in the Declaration of Steven Weisbrot, a partner at

Angeion, filed in support of the Motion for Preliminary Approval of the

Settlement, D.E. 52-3, the Notice plan, which was approved by the

Court, provided for notice through internet advertising (id. ¶¶ 16-27), a

social media campaign using Facebook and Instagram (id. ¶¶ 28-30), a

dedicated settlement website (id. ¶¶ 31-32), a paid search strategy

designed to drive Class Members to the dedicated settlement website

(id. ¶¶ 31-32), and a toll-free hotline (id. ¶ 34).


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     The notice plan was designed to reach 80.14% of the target

audience with each person viewing the digital advertising an average of

3.99 times. (Id. ¶ 13). See Barbara J. Rothstein & Thomas E. Willging,

Federal Judicial Center, “Managing Class Action Litigation: A Pocket

Guide for Judges,” at 27 (3d Ed. 2010) (explaining that a publication

notice plan that reaches 70% of class members is one that reaches a

“high percentage” and is within the “norm”).

     Class Members could submit a claim online through the dedicated

Settlement website or could obtain a paper claim form by calling a

tollfree number or by requesting the form by mail from the Settlement

Administrator. D.E. 116-1 ¶ IV.B.7. Class members also had until 45

days after Final Approval of the settlement in which to file their proofs

of claim. D.E. 116-1 p. 3.

     Ultimately, no Class Members requested to opt out and only one—

Mr. Frank—filed an objection to the settlement. D.E. 133 p. 53. Truth

in Advertising, a non-profit public interest law firm, was granted leave

to file an amicus brief opposing the settlement with no objection by

Plaintiffs. D.E. 79.

           5.    The Judicial Review of the Settlement.

     On April 26, 2021, the Magistrate Judge entered an order

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directing the parties to provide additional information regarding the

effectiveness of the proposed injunctive relief set out in the Settlement

Agreement. D.E. 58. Plaintiffs and Defendants filed separate briefs

responding to the Court’s order on May 24, 2021. D.E. 61, 62.

     On July 27, 2021, the Magistrate Judge scheduled the final

approval hearing for August 17, 2021, and ordered Plaintiffs to file their

retainer agreements and their attorney billing and cost records at least

three days before the hearing. D.E. 81. Additionally, the Magistrate

Judge directed that “Plaintiff's counsel should be prepared to discuss at

the hearing the amount of costs and how the settlement proceeds will be

divided between Plaintiff and her attorney.” D.E. 81. Additionally, on

August 5, the Magistrate Judge ordered the parties, Mr. Frank, and

TINA    to   provide    specific,   additional    materials     regarding     the

effectiveness of the proposed injunctive relief by August 16. D.E. 84.

     Class Counsel filed a declaration with the requested retainer and

billing and expense information on August 13, 2022. D.E. 94. On August

14, 2022, the Magistrate Judge requested an additional detailed

declaration that would expand on the information already provided

regarding claims filed to date and document “how many of those claims



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were submitted with proof of purchase, how many were submitted

without proof or purchase and how many claimants are seeking the

maximum under each of the two categories (i.e. $20 in the without-proof

category and $65 in the with-proof category).” D.E. 95. On August 15,

2022, the Magistrate Judge also requested a declaration providing a

“calculation predicting how many claims will be submitted by December

10, 2021 and the breakdown of the claims (i.e., those with proof of

purchase and those without proof of purchase).” D.E. 96. Along with

additional requested information, the order further specified: “[T]he

calculation shall include an approximation of how much money

Defendants will be required to pay out based on all claims received by

the hypothetical December 10, 2021 claims deadline. The calculation

shall, if appropriate, also include a reasonable deduction for anticipated

invalid claims. In the classic words of math teachers everywhere,

Plaintiffs shall use a ‘show-your-work’ format, so that I can easily

discern the details.” D.E. 96.

     On August 16, 2022, Angeion filed a supplemental declaration

providing detailed information regarding the claims made through that

date, including how they were made and whether they were made with

or without proof of purchase. D.E. 101-1. Angeion advised the court


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that as of August 16, 2022, they had received 23,130 claims without

proof of purchase and 439 with proof of purchase. Id. p. 5.

      Angeion   further    explained      that   they    were      beginning    a

supplemental notice campaign designed to generate more claims and

that they expected an uptick in claims after that campaign and during

the weeks before the deadline for filing claims (established as 45 days

after entry of the final approval order). Id. ¶¶ 12-14. Plaintiffs’ counsel

also filed the requested supplemental declaration projecting, based on

the Angeion data and experience in prior class actions, that there would

$1,049,797 in claims by the Court’s hypothetical December 10, 2021

claims filing deadline. D.E. 102-1 ¶ 10.

      The Magistrate Judge conducted a three-hour final approval

hearing on August 17, 2021. D.E. 103. The day after the hearing, he

requested further submissions regarding the value of the injunctive

relief from the parties, Mr. Frank, and TINA. D.E. 105. Following the

hearing, Defendants and Plaintiffs engaged in further negotiations and

agreed to amend the settlement’s terms as related to the injunctive

relief.   On September 16, Defendants filed the parties’ Amended

Settlement Agreement. D.E. 116. The court received additional briefing



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related to the Amended Settlement Agreement’s injunctive relief on

September 24 and 29 and December 2. D.E. 122, 124, 125, 132.

     On October 21, 2021, Plaintiffs filed, with permission from the

Magistrate Judge, a supplemental declaration providing updated claims

information. DE 130. As of October 14, 2021, the Settlement

Administrator had received a total of 50,634 claims requesting a

maximum monetary benefit of $935,332.50. Id. ¶ 7.

     On December 15, 2021, the Magistrate Judge entered his 108-page

R&R recommending that the District Court grant final approval of the

parties’ settlement. D.E. 133. Mr. Frank filed an objection to the R&R.

In support of their response to the objection, D.E. 135. Plaintiffs’

counsel   filed   a   supplemental   declaration      with    updated     claims

information reporting that as of January 10, 2022, 59,877 claims had

been filed. D.E. 137-1 ¶ 7. Of those, 58,915 were submitted by way of

the settlement website, and 962 by USPS. Id. In addition, 962 were

with proof of purchase for a total amount of $55,867. Id. ¶ 11. 58,915

were without proof of purchase and totaled $1,053,315. Id. ¶ 9. In sum,

there was a total amount of $1,109,1582 in claims made. Id. ¶ 8.

     On March 17, 2022, after reviewing Mr. Frank’s objection to the

R&R and the parties’ responses and conducting a de novo review,


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District Court Judge Marcia Cooke found that Magistrate Judge

Goodman’s R&R was “thorough and well-reasoned” and adopted it as

the court’s Order. D.E. 140. This appeal followed.

                    SUMMARY OF ARGUMENT

     Mr. Frank has proceeded with this appeal, invoking this Court’s

jurisdiction, even though he has not shown, as required for Article III

standing, that he has suffered a “concrete injury” or “real” harm as a

result of his purchase of Defendants’ product.          In re Equifax Inc.

Customer Data Sec. Breach Litig., 999 F.3d 1247, 1262 (11th Cir.), cert.

denied sub nom. Huang v. Spector, 142 S. Ct. 431 (2021). This is a false

advertising case, and he has never claimed Defendants deceived him.

And, now, the monetary relief portion of the settlement, which he has

never challenged, will fully reimburse him for what he paid for the

product. As this Court recently emphasized, even during an appeal at

the settlement stage of a class action, this Court must confirm that it

has Article III standing, Since Mr. Frank cannot show he has

experienced any concrete harm, this Court lacks Article III standing

and should dismiss this appeal.

     As for the merits of this appeal, the Magistrate Judge’s 108-page

R&R, which became the District Court’s order, carefully analyzed the


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terms of the settlement, applied well-established Eleventh Circuit

authority regarding class actions and constructive common funds and

the provisions of Rule 23(e)(2) of the Federal Rules of Civil Procedure,

and determined that the settlement was fair, reasonable, and adequate.

In order to side-step this Court’s precedent, Mr. Frank has invented a

change in the law, claiming that 2018 amendments to Rule 23(e)(2)

significantly altered the lay of the land, even though the Advisory

Committee denied any such intent in its note related to the

amendments and Mr. Frank can cite to no court that has actually

agreed that there has been a change in the law.

     This Court should conclude that the District Court properly

applied this Court’s law governing constructive common funds and

review of class action settlements. Under the abuse of discretion

standard of review, no basis exists to reverse the District Court’s

determination that the settlement in this case should be approved.

                        STANDARD OF REVIEW

     This Court reviews an order approving a class action settlement

for abuse of discretion. In re Equifax, 999 F.3d at 1273. “[B]ecause

determining the fairness of the settlement is left to the sound discretion

of the trial court, [this Court] will not overturn its decision absent a


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clear showing of abuse of that discretion. Bennett v. Behring Corp., 737

F.2d 982, 986 (11th Cir. 1984). As this Court noted in Equifax, “[t]his

degree of deference to a decision approving a class action settlement

makes sense. Settlements resolve differences and bring parties together

for a common resolution.” 999 F.3d at 1273 (cleaned up). There is a

“strong judicial policy favoring settlement.” Bennett, 737 F.2d at 986.

                             ARGUMENT

I.   MR. FRANK LACKS ARTICLE III STANDING AND,
     THEREFORE, THIS COURT LACKS JURISDICTION OVER
     HIS APPEAL.

     This Court, citing Frank v. Gaos, ––– U.S. ––––, 139 S. Ct. 1041,

203 L.Ed.2d 404 (2019), recently held: “[E]ven at the settlement stage of

a class action, we must assure ourselves that we have Article III

standing at every stage of the litigation.” Drazen v. Pinto, 41 F.4th

1354, 2022 WL 2963470, *5 (11th Cir. 2022). See also United States v.

Amodeo, 916 F.3d 967, 971 (11th Cir. 2019) (“To have a case or

controversy, a litigant must establish that he has standing, which must

exist throughout all stages of litigation.”). This Court pointed out that

the Supreme Court recently further held that “‘[e]very class member

must have Article III standing in order to recover individual damages.’”



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Id. (quoting TransUnion LLC v. Ramirez, ––– U.S. ––––, 141 S. Ct.

2190, 2208 (2021).

      The Court then explained: “Article III standing goes to the heart

of our jurisdiction to hear cases in the first place. We cannot, therefore,

check our Article III requirements at the door of the class action.” Id. at

*6.

      As the Supreme Court explained in Spokeo, Inc. v. Robins, 578

U.S. 330, ___, 136 S. Ct. 1540, 1547, 194 L.Ed.2d 635 (2016), the

“irreducible constitutional minimum of standing consists of three

elements”: “[t]he plaintiff must have (1) suffered an injury in fact, (2)

that is fairly traceable to the challenged conduct of the defendant, and

(3) that is likely to be redressed by a favorable judicial decision.” To

establish injury in fact, a plaintiff must show that he or she suffered an

invasion of a legally protected interest that is concrete and

particularized and actual or imminent, not conjectural or hypothetical.”

Id. at 1548. Put more succinctly, “An injury is concrete if the harm is

‘real.’” In re Equifax, 999 F.3d at 1262.

      It is well established that objectors to class settlements require

Article III standing. See, e.g., In re First Cap. Holdings Corp. Fin. Prod.



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Sec. Litig., 33 F.3d 29, 30 (9th Cir. 1994) (dismissing objection on

Article III standing grounds when objector, though “technically

qualified [] for membership in the class…asserts no economic or

noneconomic injury.”); Feder v. Elec. Data Sys. Corp., 248 F. App'x 579,

580-1 (5th Cir. 2007) (unpublished) (proposed objector failed to provide

“enough evidence” of Article III standing). Devlin v. Scardelletti, 536

U.S. 1, 6 (2002), upon which Mr. Frank exclusively relies, expressly

states that its analysis does not address Article III standing. Although

the Devlin Court assumed that the objector in that case possessed

standing, the decision predates the analysis now required by Spokeo

and TransUnion.

     Here, Mr. Frank lacks standing because he has not shown that he

suffered concrete harm and real injury as a result of his purchase of

Neuriva.   Mr. Frank submitted an initial declaration supporting his

Objection and a follow-up 30-page declaration providing additional

detail regarding his standing to object. In both declarations, he provides

only a single basis to establish his proposed injury: his purchase of a 30-

count bottle of Neuriva Original. D.E. 75-1 ¶ 4.

     This Court has established that “an economic injury qualifies as a

concrete injury,” and “[a] person experiences an economic injury” and


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has Article III standing “when, as a result of a deceptive act or an

unfair practice, he is deprived of the benefit of his bargain.”

Debernardis v. IQ Formulations, LLC, 942 F.3d 1076, 1084, 1086 (11th

Cir. 2019). However, Mr. Frank, in his two declarations and all of his

numerous other filings in the District Court, never once stated that

Defendants’ deceptive acts or unfair practices deprived him of the

benefit of his bargain. Instead, Mr. Frank—an attorney who devotes 29

out of 30 pages in his declaration to his personal experience and that of

his institute in objecting to class action settlements—admitted to

purchasing a bottle of Neuriva Original only after learning about the

lawsuit about Neuriva. Put differently, Mr. Frank never stated that

Defendants’ statements on its labeling misled him. Compare Plaintiffs

Consolidated Amended Complaint, D.E. 51 ¶¶ 136, 142, 148, 154, 160.

     Instead, Mr. Frank represented and provided evidence only that

he purchased Neuriva Original on February 2, 2021 within the class

period for personal use. He made no showing of any concrete injury

within the meaning of Article III. In his initial declaration, he stated

only: “On February 2, 2021, during the class period, I purchased a 30-

count bottle of Neuriva Original from Amazon (sold by Pharmapacks)



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for $21.95 for personal consumption for delivery in the United States.”

D.E. 75-1 p. 2 ¶ 4. In response to Defendants’ motion to strike, Mr.

Frank simply reiterated in a supplemental declaration: “I purchased

Neuriva for personal use before any HLLI attorneys or I had seen a

single document filed in this litigation.” D.E. 108-2 p.2 ¶ 3.

     However, in that supplemental declaration, Mr. Frank expanded

on his personal experience with Neuriva and other brain supplements.

See generally D.E. 108-2. He emphasized that he is quite knowledgeable

about nootropics—another word for brain supplements—and spends

hundreds of dollars a year on them, has several appointments a year

with his doctor relating to a prescription nootropic, takes “dozens of

pills” every morning, regularly consults with a former attorney friend

who runs a successful nootropic business, tries new nootropics every

year, and monitors blogs, internet groups, and “recommendations or

medical literature [he] see[s] online” relating to nootropics. Id. ¶ 10.

     While Mr. Frank describes his vast knowledge of the brain

supplement industry and his own personal experience, he still failed to

allege that he was in anyway “deceived.” Mr. Frank even admitted that

he “looked [Neuriva] up online because of [his] interest in nootropics”

and “was intrigued by Neuriva’s advertising on its Amazon page,” id. ¶


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13, but he still never stated that he was deceived by the advertising

when he purchased the Neuriva. As such, Mr. Frank has shown no

concrete injury such as failing to receive the benefit of his bargain.

     Even if Mr. Frank had asserted he was deceived, he also cannot

show an injury that is likely to be redressed by a favorable resolution of

his appeal because he will receive full compensation under the

settlement. Mr. Frank concedes that he submitted a claim for $21.95—

the full amount of his purchase price—with a copy of his proof of

purchase. D.E. 75-1 at ¶¶ 4-5. Under the settlement, Mr. Frank will

receive the entirety of his economic injury. See D.E. 116-1 ¶ IV.B.2.a

(“Settlement Class Members who provide Proof of Purchase may be

entitled to recover up to thirty-two dollars and fifty cents ($32.50) per

valid claim…”).

     The Ninth Circuit analyzed a nearly identical case in In re First

Cap. Holdings. A class action settlement allowed annuity holders to

reinstate annuity policies that had been terminated. 33 F.3d at 30.

The proposed objector had done so, then cashed in her annuity, and not

only received her full investment but actually profited. Id. The Ninth

Circuit found the proposed objector lacked Article III standing because



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“[s]imply being a member of a class is not enough to establish standing.

One must be an aggrieved class member.” Id.           Because the objector

“assert[ed] no economic or noneconomic injury,” the Ninth Circuit

dismissed the appeal for lack of standing. Id.

     Similarly, even assuming Mr. Frank could show that he was

injured when he purchased Neuriva, his sole purported injury—the loss

of $21.95—will be fully redressed by the settlement, and he is therefore

not aggrieved. Mr. Frank makes clear that he seeks the redress of

general grievances with the settlement and not a remedy for any actual

injury he has suffered. Appellant Br. p. 30 (“Frank is not making a Rule

23(e)(2)(C)(i) argument that the parties must settle for $40 million or

the $8 million made available, or even a single dollar more than the $4

million or so the current settlement provides RB will pay.”) Any

“reallocation” that Mr. Frank seeks fails to redress his injury, which

will be fully resolved under the settlement.

     Mr. Frank has, therefore, attempted to invoke this Court’s

jurisdiction without establishing that he has Article III standing to do

so. This appeal should be dismissed.




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II.   THE   DISTRICT    COURT   PROPERLY  APPLIED
      CONTROLLING ELEVENTH CIRCUIT STANDARDS FOR
      REVIEW OF CLASS ACTION SETTLEMENTS.

      This Court recently stated the requirements for approval of a class

action settlement: “A class action may be settled only with court

approval, which requires the court to find the settlement ‘fair,

reasonable, and adequate’ based on a number of factors. Fed. R. Civ. P.

23(e)(2). This Court has also instructed district courts to consider

several additional factors called the Bennett factors[.]” In re Equifax

Inc., 999 F.3d at 1273. Mr. Frank did not argue below (when objecting

to the Magistrate Judge’s R&R) and does not argue on appeal that the

District Court erred in its consideration of the Bennett factors.

      Rule    23(e)(2)—which     governs      approval      of     class   action

settlements—mandates:

      (2) Approval of the Proposal. If the proposal would bind class
      members, the court may approve it only after a hearing and
      only on finding that it is fair, reasonable, and adequate after
      considering whether:

             (A)   the class representatives and class counsel have
                   adequately represented the class;

             (B)   the proposal was negotiated at arm’s length;

             (C)   the relief provided for the class is adequate,
                   taking into account:


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                 (i) the costs, risks, and delay of trial and appeal;
                 (ii) the effectiveness of any proposed method of
                 distributing relief to the class, including the
                 method of processing class-member claims;
                 (iii) the terms of any proposed award of attorney's
                 fees, including timing of payment; and
                 (iv) any agreement required to be identified
                 under Rule 23(e)(3); and

           (D)   the proposal treats class members equitably
                 relative to each other.

Fed. R. Civ. Pr. 23(e)(2).

     Mr. Frank acknowledges that subsections 23(e)(2)(A), (B), and

(C)(i) “are not at issue in this appeal.” Appellant Br. 14. He also does

not make any argument related to subsection 23(e)(2))C)(iv) or (D). In

short, only Rule 23(e)(2)(C)(ii) and (iii) are at issue on appeal. Therefore,

it is established that the class representatives and class counsel

adequately represented the class (Rule 23(e)(2)(A)), that the settlement

was negotiated at arm’s length (Rule 23(e)(2)(B)), and that the

settlement treats class members equitably relative to one another (Rule

23(e)(2)(D)). Lastly, Mr. Frank makes no argument on appeal that the

District Court’s award of attorneys’ fees violated Rule 23(h).

     With respect to the settlement itself, Mr. Frank has not contested

the significant monetary benefits—he simply ignores them. Instead,



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Mr. Frank’s arguments—many expanded on for the first time on

appeal—seek to use Rule 23(e)(2)(C)(ii) and (iii), which were adopted in

2018, to accomplish a broad overruling of this Court’s prior rulings

regarding common fund and claims-made settlements and the award of

attorneys’ fees. While Mr. Frank has not been successful in this

campaign in other courts, he has adopted an “if at first you don’t

succeed, try, try again” approach.

     A.    The District Court made Adequate Findings to Meet the
           Requirements of Rule 23(e)(2)(C)(ii) and (iii).

     Although Mr. Frank urges that the 2018 amendments to Rule 23,

which included adding 23(e)(2)(A)-(D), represented a substantial change

in the law, the Advisory Committee’s Note to the amendments explicitly

states regarding the intent of the amendments: “The central concern in

reviewing a proposed class-action settlement is that it be fair,

reasonable, and adequate. Courts have generated lists of factors to shed

light on this concern. Overall, these factors focus on comparable

considerations, but each circuit has developed its own vocabulary for

expressing these concerns. In some circuits, these lists have remained

essentially unchanged for thirty or forty years. The goal of this

amendment is not to displace any factor, but rather to focus the court


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and the lawyers on the core concerns of procedure and substance that

should guide the decision whether to approve the proposal.”

     As a leading treatise on class actions has observed, “[b]ecause the

2018 amendments codified existing practice, they are unlikely to

generate a significant change in the settlement process or outcome.” 4

Newberg on Class Actions § 13.48 (5th ed. Dec. 2021 Update). In short,

contrary to Mr. Frank’s urging, the 2018 amendments did not throw

pre-2018 Amendment precedent out the window. That precedent still

applies, together with Rule 23(e)(2), when a court analyzes whether to

grant final approval to a class action settlement, as Equifax—and Mr.

Frank in that case—and other courts implicitly acknowledge. See

Equifax, 999 F.3d at1262 (concluding it was unnecessary to address

application of the Rule 23(e)(2) factors because objectors, including Mr.

Frank, did not raise them on appeal except for Mr. Frank saying “in

passing that Rule 23(e)(2)(D) was not satisfied” without “any argument

or authority”).

     Just as in Equifax, Mr. Frank’s Objection to the settlement

referenced Subsections 23(e)(2)(C)(ii)-(iii) only once in a single sentence:

“The Court must consider the entire settlement agreement, including



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‘the effectiveness of any proposed method of distributing relief to the

class’ and ‘the terms of any proposed award of attorney's fees, including

timing of payment.’ Rule 23(e)(2)(C)(ii)-(iii).” D.E. 75 p. 32.

       Mr. Frank made no actual argument at all in his Objection

regarding Rule 23(e)(2)(C)(ii) (“the effectiveness of any proposed method

of distributing relief to the class”) even though Rule 23(e)(5) requires

objectors to class settlements to “state with specificity the grounds for

the objection.” Nonetheless, even though not labeled with the actual

rule number, the Magistrate Judge’s R&R did specifically address Rule

23(e)(2)(C)(ii) (“the effectiveness of any proposed method of distributing

relief to the class”).

       The Magistrate Judge first noted that he had previously

“approved the procedure for giving Class Notice to the members of the

Settlement Class,” and he expressly found “that the Class Notice

substantially in the form approved by the Court in its preliminary

approval order was given in the manner ordered by the Court,

constitutes the best practicable notice, and was fair, reasonable, and

adequate, and that the Parties have complied with their obligations

under the Class Action Fairness Act, 28 U.S.C. § 1715.” D.E. 133 p. 13

n.3.

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      Further, the R&R also specifically discussed the fact that the

proposed settlement allowed class members to receive monetary

benefits under the settlement both with and without proof of purchase.

D.E. 133 p. 48; see also pp. 82-84. The R&R further found that the

“Settlement provides immediate and substantial monetary relief to the

Settlement    Class   with   payments      approximating          a     significant

percentage of Settlement Class Members’ actual damages.” D.E. 133 p.

49. If Mr. Frank, at the time he filed his Objection, believed that further

findings were necessary under Rule 23(e)(2)(C)(ii), he should have said

so.

      Although Mr. Frank in his objection to the Magistrate Judge’s

R&R refocused his arguments to rely more extensively on Rule

23(e)(2)(C)(ii), district courts are not obligated to consider new

arguments raised for the first time in an objection to a report and

recommendation. Williams v. McNeil, 557 F.3d 1287, 1292 (11th

Cir.2009) (“[A] district court has the discretion to decline to consider a

party's argument when the argument is not first presented to the

magistrate judge.”); see also S.D. Fla. Local Magistrate Judge Rule 4(b)

(“A District Judge shall make a de novo determination of those portions



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of the report or specified proposed findings or recommendations to

which objection is made and may accept, reject, or modify, in whole or in

part, the findings or recommendations made by the Magistrate Judge.”).

Mr. Frank’s complaint on appeal that the District Court failed to

address his objection as it related to Rule 23(e)(2)(C)(ii) is disingenuous.

     As for the factor in Rule 23(e)(2)(C)(iii)—"the terms of any

proposed award of attorney's fees, including timing of payment”—Mr.

Frank’s complaint that the District Court did not address his objections

at all is inexplicable. Beginning at D.E. 133 p. 55 and continuing

through p. 93, the R&R adopted by the District Court, under the

heading “The Objections” and the subheading (in bold) “Attorney’s Fees

and Costs,” addressed “the terms of any proposed award of attorney’s

fees” as required by Rule 23(e)(2)(C)(iii).

     Because the District Court considered the factors set forth in Rule

26(e)(2), as required by the Rule, the remaining question is whether the

District Court abused its discretion in finding that the settlement was

fair, reasonable, and adequate.




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     B.    The 2018 Amendments did not Change Controlling Eleventh
           Circuit Law and the District Court’s Decision is a
           Mainstream Application of that Law.

     The strategy behind Mr. Frank’s claim that the 2018 amendments

to Rule 23 were a game-changer is transparent. He seeks a means of

avoiding longstanding, controlling Eleventh Circuit authority that

supports the District Court’s approval of the parties’ proposed

settlement.    However, Eleventh Circuit precedent cannot be so

cavalierly erased.

     The Eleventh Circuit has long held that awarding attorneys’ fees

based on a “reasonable percentage of the fund established for the

benefit of the class” is “the better reasoned” approach. Camden I

Condominium Ass’n, Inc. v. Dunkle, 946 F.2d 768,774 (11th Cir. 1991)

(remanding for determination of reasonable attorneys’ fee based on a

percentage of a reversionary common fund). In typical common fund

cases, like Camden I, “the defendant pays a lump sum of cash, a

percentage of which is awarded to class counsel.” In re Home Depot Inc.,

931 F.3d 1065, 1092 (11th Cir. 2019).

     In claims-made settlements, however, parties agree that the

defendant will pay the claims of class members up to a specified



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amount.    In addition, the parties may then also agree that the

defendant will pay the plaintiff class’s attorneys’ fees separately either

in a designated amount or up to a specified amount. Home Depot, 931

F.3d at 1092. Courts define this type of settlement as a “constructive

common fund.” Id. In those cases, “Courts have included the expected

attorney's fees in the class benefit, reasoning that the payment to the

class and the payment to counsel were negotiated as a package deal, so

that the defendant reduced the payment to the class to account for the

expected payment to counsel.” Id.

     The law has also been longstanding in the Eleventh Circuit that

when reviewing constructive common fund settlements, the district

court should calculate what percentage the agreed-upon attorneys’ fees

are of the total amount available to the class and—contrary to Mr.

Frank’s argument—not the amount ultimately actually paid out to the

class. Waters v. Intern. Precious Metals Corp., 190 F.3d 1291, 1295 (11th

Cir. 1999) (“[N]o case has held that a district court must consider only

the actual payout in determining attorneys’ fees.”); see also Carter v.

Forjas Taurus, S.A., 701 Fed. Appx. 759, 767 (11th Cir. June 29, 2017)

(rejecting objectors’ argument that “the attorney’s fee should have been



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calculated based on the amount actually paid to the class” because “this

is not required by our precedent”); Poertner v. Gillette Co., 618 Fed.

Appx. 624, 630 (11th Cir. July 16, 2015) (per curiam) (same).

     Mr. Frank, however, points to Home Depot’s explanation that “[i]n

mathematical terms, the equation for the percentage method in

constructive common-fund cases effectively works like this: the actual

payment to counsel is the product of (1) the percentage the court decides

to award, and (2) the payment to the class plus the expected payment to

counsel (together, the class benefit).” 931 F.3d at 1092. However, when

this sentence is read in the context of the entire paragraph defining a

“constructive common fund,” it is apparent that “the payment to the

class” refers to the amount that the parties agreed upon during

negotiations between class counsel and defendant.                Id.   This is

especially apparent given that Home Depot cited to Waters and then

later rejected Home Depot’s argument that the constructive common

fund should not include amounts originally intended to go to putative

class member banks that were never paid because the banks released

Home Depot. Id. at 1092, 1094.

     In support of this holding that the constructive common fund

includes amounts intended for class members not ultimately paid, the

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Home Depot panel, relied, id. at 1094, on the Supreme Court’s decision

in Boeing v. Van Gemert, 444 U.S. 442, 478, 100 S.Ct. 745, 749 (“Since

the decisions in Trustees v. Greenough, 105 U.S. 527, 26 L. Ed. 1157

(1882), and Central Railroad & Banking Co. v. Pettus, 113 U.S. 116, 5

S.Ct. 387, 28 L. Ed. 915 (1885), this Court has recognized consistently

that a litigant or a lawyer who recovers a common fund for the benefit

of persons other than himself or his client is entitled to a reasonable

attorney's fee from the fund as a whole.”).

     Boeing explained the basis for its ruling: “The common-fund

doctrine reflects the traditional practice in courts of equity, and it

stands as a well-recognized exception to the general principle that

requires every litigant to bear his own attorney's fees. The doctrine

rests on the perception that persons who obtain the benefit of a lawsuit

without contributing to its cost are unjustly enriched at the successful

litigant's expense.” Id. (cleaned up). In common fund cases,

     each member of a certified class has an undisputed and
     mathematically ascertainable claim to part of a lump-sum
     judgment recovered on his behalf. Once the class
     representatives have established the defendant's liability
     and the total amount of damages, members of the class can
     obtain their share of the recovery simply by proving their
     individual claims against the judgment fund. . . . To claim
     their logically ascertainable shares of the judgment fund,


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     absentee class members need prove only their membership
     in the injured class. Their right to share the harvest of the
     lawsuit upon proof of their identity, whether or not they
     exercise it, is a benefit in the fund created by the efforts of the
     class representatives and their counsel. Unless absentees
     contribute to the payment of attorney's fees incurred on their
     behalves, they will pay nothing for the creation of the fund
     and their representatives may bear additional cost.

Id. at 479-80 (emphasis added). In short, attorneys, through their

efforts, create an opportunity for class members, and the attorneys

should not be prejudiced if class members choose not to take advantage

of that opportunity.

     While Mr. Frank claims that Boeing should be disregarded

because of its age, this Court recently not only again cited Boeing, but

also relied upon the two cases that were the basis for Boeing’s holding—

Greenough and Pettus—as the “seminal cases establishing the rule—

applicable in so many class-action cases, including this one—that

attorneys’ fees can be paid from a ‘common fund.’” Johnson v. NPAS

Sols., LLC, 975 F.3d 1244, 1255–56 (11th Cir. 2020). There can be little

question that Boeing is still the law as so many courts have continued

to recognize.

      Although Mr. Frank attempts to dismiss Boeing and Waters as

irrelevant because they involved an appeal by a defendant rather than


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an objector, that is a distinction without a difference, as Carter and

Poertner, which both involved objectors’ appeals, demonstrate. See also

In re Baby Prod. Antitrust Litig., 708 F.3d 163, 177 n.11 (3d Cir. 2013)

(“In Boeing, the fund was created following the determination of

plaintiffs' claims rather than pursuant to a settlement.           We do not

believe this significantly alters the analysis.” (cleaned up)). Mr. Frank

is aware of the Eleventh Circuit’s position, as he unsuccessfully made

identical arguments in Poertner. This Court first observed: “While no

published opinion of ours extends Camden I 's percentage-of-recovery

rule to claims-made settlements, no principled reason counsels against

doing so. For, as one learned treatise aptly illustrates, properly

understood ‘[a] claims-made settlement is ... the functional equivalent of

a common fund settlement where the unclaimed funds revert to the

defendant; indeed, the two types of settlements are ‘fully synonymous.’”

Poerner, 618 F. App’x at 629 (quoting 4 William B. Rubenstein,

Newberg on Class Actions § 13:7 (5th ed.2011)). This Court then

rejected the argument Mr. Frank makes here: “Frank claims that the

settlement is unfair because class counsel's slice of the settlement pie is

too large (i.e., the fees-and-costs award is unreasonable). But this



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objection is based on Frank's flawed valuation of the settlement pie:

limiting the monetary value to the amount of Gillette's actual payments

to the class along with excluding the substantial nonmonetary benefit

and the cy pres award.” Id. at 630.

     While Mr. Frank argues that the Magistrate Judge erred as a

matter of law by relying on Poertner since it is an unpublished opinion,

it is readily apparent from the R&R that the Magistrate Judge

appropriately treated Poertner as persuasive rather than controlling

authority—as demonstrated by his listing of numerous other decisions

from the Southern District of Florida applying the “principle” from

Poertner. That would hardly be a necessary exercise if Poertner were

controlling authority. D.E. 133 p. 73.

     Indeed, there should be little question that Poertner is persuasive

authority given that, at present, Westlaw indicates that 59 other

opinions have favorably cited Poertner. Moreover, the decision below

joins numerous decisions within the 11th Circuit holding that attorneys’

fees allowed in connection with constructive common funds arising out

of claims-made settlements may be based on the agreed-upon class

amount rather than the actual amount paid to class members. See, e.g.,



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Ferron v. Kraft Heinz Foods Co., No. 20-CV-62136-RAR, 2021 WL

2940240, at *18 (S.D. Fla. July 13, 2021) (holding that “in the Eleventh

Circuit, class counsel is awarded a percentage of the funds made

available through a settlement, not the amount of funds actually paid

out”); Wilson v. EverBank, No. 14-CIV-22264, 2016 WL 457011, at *13

(S.D. Fla. Feb. 3, 2016) (“Both the United States Supreme Court and

the Eleventh Circuit have expressly approved calculating fees by

applying the percentage-of-recovery method to the total value of the

settlement.”).

     C.    Other Circuits have Adopted the Same Constructive
           Common Fund Analysis as the Eleventh Circuit.

     The Eleventh Circuit’s approach is not novel but rather parallels

that of other Circuits.     The Sixth Circuit, in an opinion cited

approvingly by this Court in Home Depot, addressed the same argument

Mr. Frank makes here: that a percentage-of-the fund should be

calculated using the value of the claims paid. The court surveyed the

law of the Circuits and, based on that review, concluded “that it is

within the discretion of a district court both to select a lodestar

computation as the appropriate method of fee calculation and, if

choosing to use or include a percentage of the fund calculation, to value


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the benefit to the class based on the total relief class counsel makes

available to all the class members. Gascho v. Glob. Fitness Holdings,

LLC, 822 F.3d 269, 278 (6th Cir. 2016) (emphasis added) (noting also

that Boeing “does not support the benefit calculation that [the objector]

proposes”).

     Other Circuits have likewise refused to limit the “constructive

common fund” to the amount actually paid out, as opposed to the

negotiated fund made available to the class. See also In re: Motor Fuel

Temperature Sales Pracs. Litig., 872 F.3d 1094, 1120–21 (10th Cir.

2017) (adopting Sixth Circuit approach); Dewey v. Volkswagen

Aktiengesellschaft, 558 F. App'x 191, 197 (3d Cir. 2014) (“Granted, this

case does not involve a true common fund because Volkswagen is

paying the fee out of its own pocket and not through the reimbursement

fund. However, where the reality is that the fund and the fee are paid

from the same source—in this case, Volkswagen—the arrangement is,

for practical purposes, a constructive common fund, and courts may still

apply the percent-of-fund analysis in calculating attorney's fees.”

(cleaned up)); Masters v. Wilhelmina Model Agency, Inc., 473 F.3d 423,

436–37 (2d Cir. 2007) (“The entire Fund, and not some portion thereof,



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is created through the efforts of counsel at the instigation of the entire

class. An allocation of fees by percentage should therefore be awarded

on the basis of the total funds made available, whether claimed or not.

We side with the circuits that take this approach”); Williams v. MGM-

Pathe Communs. Co., 129 F.3d 1026, 1027 (9th Cir. 1997) (“We conclude

that the district court abused its discretion by basing the fee on the

class members' claims against the fund rather than on a percentage of

the entire fund or on the lodestar.”).

     In addition, the current version of the Manual on Complex

Litigation explains: “If an agreement is reached on the amount of a

settlement fund and a separate amount for attorney fees and expenses,

both amounts must be disclosed to the class. Moreover, the sum of the

two amounts ordinarily should be treated as a settlement fund for the

benefit of the class, with the agreed-on fee amount constituting the

upper limit on the fees that can be awarded to counsel.” Manual

Complex Lit. § 21.7 (4th ed. May 2022 Update).

     Mr. Frank, however, in an effort to avoid existing law, argues that

the 2018 addition of Rule 23(e)(2)(C)(ii) changed the law and requires

courts, as a matter of law, to ignore the amount made available to the



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class through the settlement and look only at the amount actually paid

out.     No court has adopted Mr. Frank’s construction of Rule

23(e)(2)(C)(ii) or even alluded to it as a possibility—a fact hardly

surprising given the actual text.

       Rule 23(e)(2)(C)(ii) requires courts to take into account “the

effectiveness of any proposed method of distributing relief to the class,

including the method of processing class-member claims.” (Emphasis

added). Mr. Frank argues that “Rule 23(e)(2)(C)(ii) requires courts to

consider the effectiveness of distributing relief to the class—the amount

class members actually receive.”         Appellant Br. p. 49 (emphasis

original).   But this is not what the rule says; Rule 23(e)(2)(C)(ii)

requires the court to consider the effectiveness of the method of

distribution. In other words, courts are to consider what methods of

distributing relief would be effective when weighing final approval, and

Mr. Frank cannot dispute that the district court made such a

consideration. The only way to arrive at Mr. Frank’s conclusion is to

rewrite Rule 23(e)(2).

       Mr. Frank’s lack of support for this position is hardly surprising

given the plain language of the Rule. Moreover, the Advisory



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Committee Notes to the 2018 Amendments explain with respect to Rule

23(e)(2)(C)(ii) (emphasis added): “Often it will be important for the court

to scrutinize the method of claims processing to ensure that it facilitates

filing legitimate claims. A claims processing method should deter or

defeat unjustified claims, but the court should be alert to whether the

claims process is unduly demanding.” Likewise, Newberg on Class

Actions underscores that this subfactor addresses the “distribution

method” and notes that “the goal of any distribution method is to get as

much of the available damages remedy to class members as possible

and in as simple and expedient a manner as possible.” 4 Newberg on

Class Actions § 13:48.

     In an apparent attempt to disguise his lack of authority, Mr.

Frank immediately follows his assertions about Rule 23(e)(2)(C)(ii) with

a   new   paragraph      proclaiming:    “Indeed,    every    appellate    court

considering the 2018 Amendments has repudiated the “made available”

fiction. He then cites two decisions: Briseño, 998 F.3d at 1024-26 and In

re Samsung Top-Load Washing Machine Mktg., Sales Practices &

Prods. Liab. Litig., 997 F.3d 1077, 1094 (10th Cir. 2021). Not only does

neither opinion discuss Rule 23(e)(2)(C)(ii), but in addition neither case

“repudiate[s] the ‘made available’ fiction.”


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     The Ninth Circuit Briseño panel, of course, could not overrule the

prior Ninth Circuit Williams decision.      Nor did it attempt to do so.

Instead, in a footnote, the panel acknowledged that it had “not

address[ed] whether the settlement agreement amount[ed] to a

constructive common fund” and directed that “the district court on

remand should review the settlement structure to determine whether to

apply common fund principles to its 23(e) inquiry.” Briseño, 998 F.3d at

1023 n.1. Since it had not even decided whether the settlement was a

constructive common fund, it could not have decided whether the fund

would only be based on the actual amounts paid to the class.

     Similarly, the 10th Circuit Samsung panel remanded for the

district court to give the settlement “heightened scrutiny,” advising that

the “district court, after carefully reviewing billing records and

performing the traditional lodestar analysis, should crosscheck the fees

and costs award against both the value of the settlement and the

estimated actual cost to the defendant.” 997 F.3d at 1094 (emphasis

added). Again, the panel could not overrule the previously-decided

Tenth Circuit In re: Motor Fuel Temperature Sales Pracs. Litig.

decision. And there is no need to read it as doing so. Instead, the



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opinion merely directs that when fees are being decided based on

lodestar (as opposed to the constructive common fund), and the district

court is doing a crosscheck, the court should look at both the total value

of the agreed-upon settlement and what the defendant actually has to

pay out. Id.

     Briseño and Samsung do not dictate—as Mr. Frank argues here—

that when awarding fees based on a percentage, it must be a percentage

of the actual amount paid to the class plus the agreed-upon fee amount

rather than, as this Court has held, a percentage of the agreed-upon

class settlement fund plus the agreed-upon fees. Neither case provides

any reason for this Court to revisit its established law on common funds

and constructive common funds.

     In fact, the only Circuit that has definitively adopted Mr. Frank’s

position is the Seventh Circuit in Pearson v. NBTY, Inc., 772 F.3d 778

(7th Cir. 2014), which adopted a per se rule that when awarding

attorney’s fees based on a percentage the correct ratio to calculate is

always that of “(1) the fee to (2) the fee plus what the class members

received.” Id. at 781. In establishing this rule, the Seventh Circuit—

contrary to this Court—concluded that Boeing was irrelevant. Since

Pearson cannot be reconciled with this Court’s prior rulings or the


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majority of courts across the country addressing constructive common

funds, the District Court in this case certainly did not err in

disregarding Pearson.

     In short, the District Court could properly choose to evaluate the

potential $2.9 million fee through use of a constructive common fund

analysis in which the percentage is calculated using the proposed fee as

the numerator and the denominator being the combination of the

agreed-upon class fund + the agreed-upon maximum attorneys’ fee.

     D.    Mr. Frank’s Claim that the Attorneys’ Fee Amounts to a
           Disproportionate Allocation as a Matter of Law is Contrary
           to Eleventh Circuit Authority.

     Mr. Frank’s argument that the attorneys’ fee provision of the

settlement violates Rule 23(e)(2)(C) hinges on this Court agreeing to

disregard Boeing, overrule Waters, deem Poertner unpersuasive, and

reject the reasoned decisions of the Second, Third, Sixth, Ninth, and

potentially Tenth Circuits. His claim that “[t]he Settlement is unfair as

a matter of law because class counsel’s fee award consumes about three

fourths of the total benefit” depends on this Court adopting the formula

mandated by the Seventh Circuit. Appellant Br. p. 23.

     Under this Court’s rule, however, the proper calculation is

$2,900,000 divided by ($8 million + $2,900,000).                 The relevant

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percentage is calculated by dividing the proposed fee by the constructive

common fund, which is equal to the total fund allocated for the class

plus the separately allocated fee. The result of that calculation in this

case is 26.6%.

     The Magistrate Judge erroneously noted: “The $2.9 million sought

by Class Counsel for fees and expenses constitutes 36% of the value of

just the monetary relief made available to the Settlement Class, which

is well within the range approved by the Eleventh Circuit.” Apparently,

the Magistrate Judge divided the $2.9 million by just the amount of the

class fund ($8 million), which is not the proper formula for constructive

common funds. Since 26.6% is at an even lower end of the range of fees

approved by this Court, correction of this miscalculation simply further

supports the District Court’s decision. Significantly, Mr. Frank, who

undoubtedly noted the error, makes no argument that either 26.6% or

36% would be a disproportionate fee.

     Instead, he seeks reversal by continuing his pursuit for a court

willing to hold that “clear-sailing” and “kicker” agreements are per se

unlawful. The Sixth Circuit, in its comprehensive Gascho decision,

explained: “Neither clear sailing provisions nor kicker clauses have ever



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been held to be unlawful per se, but courts have recognized that their

inclusion gives the district court ‘a heightened duty to peer into the

provision and scrutinize closely the relationship between attorneys' fees

and benefit to the class.’ Bluetooth, 654 F.3d at 948.” The Gascho court

found no error in its case because “[h]ere, the R & R did peer into the

relief to the class and the attorney's fees at issue, and found both to be

appropriate.” Id.

     The same is true here.            The Magistrate Judge expressly

acknowledged the “heightened duty” standard and concluded, based on

his scrutiny of the negotiations between the parties (D.E. 133 pp. 38-

40), that there was no collusion between the parties, and the “clear

sailing” and “kicker” provisions did not require rejection of the

settlement. D.E. 133 pp. 86-89.         Especially in the absence of a

disproportionate fee, Mr. Frank has failed to show that the District

Court abused its discretion in concluding that the “clear sailing” and

“kicker” provisions were insufficient to justify denying final approval of

the settlement.

     The Sixth Circuit reached the same conclusion under similar

circumstances. See Gascho, 822 F.3d at 291 (finding objector’s concern



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about clear sailing and kicker provisions “unwarranted here because

the district court unreservedly found that the relief to the class was

‘substantial’ and that class counsel's fee request was appropriate,

findings it made within its legitimate discretion. The lengthy R & R

extensively discussed both relief and fees, and did not exhibit any

inclination to find that the former was inadequate or the latter was

excessive.”).

      Moreover, in In re Samsung , 997 F.3d at 1088-89, on which Mr.

Frank relies, the Tenth Circuit stated: "To our knowledge, no court has

adopted a per se rule against inclusion of 'kicker' and 'clear-sailing'

agreements in settlements. . . .And there is good reason for not

automatically rejecting settlements with 'kicker' agreements."             The

court explained: “‘Kicker’” agreements can valuably further negotiations

by allowing defendants to establish their maximum liability” while also

“avoid[ing] situations where participating class members receive a

windfall, well above their actual damages, at the expense of the

defendant." Id. at 1089. With respect to "clear-sailing agreements," the

court likewise noted that not every such provision demonstrates

collusion and courts have affirmed final approval of settlements having



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both a "kicker" provision and a "clear-sailing provision."          Id. (citing

cases). The court reiterated: "it has long been recognized that 'kicker’

and ‘clear-sailing’ agreements can play an important role in class action

settlement negotiations because the defendants want to know their

total maximum exposure and the plaintiffs do not want to be

sandbagged. Id. (internal quotation marks omitted).

         In contrast, cases in which the “clear sailing” and “kicker”

provisions played an important role on appeal also involved substantial

concerns about the relief, monetary and otherwise, being given the

class.     Mr. Frank has never challenged in this case the monetary

recovery afforded to class members (even without proof of purchase),

essentially ignoring its existence. However, the lack of similar

compensation or other comparable relief was the rationale underlying

the decisions of the courts upon which Mr. Frank relies. See, e.g., In re

Dry Max Papers Litig., 724 F.3d 713, 716, 718-19 (6th Cir. 2013) (a Rule

23(b)(2) class for injunctive relief in which attorneys received $2.78

million while the class received a refund for one box of diapers if they

had a receipt and UPC code from a box purchased up to eight years

earlier, a general warning on the box about diaper rash, and minimal



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and obvious medical advice about diaper rash posted on the Pampers

website); In re Bluetooth Headset Prod. Liab. Litig., 654 F.3d 935, 938

(9th Cir. 2011) (“The settlement agreement approved in this products

liability class action provides the class $100,000 in cy pres awards and

zero dollars for economic injury, while setting aside up to $800,000 for

class counsel and $12,000 for the class representatives—amounts which

the court subsequently awarded in full in a separate order.”).

     Since the attorneys’ fee award easily falls within the range

authorized by this Court and the Magistrate Judge acknowledged his

obligation to scrutinize whether the clear sailing and kicker provisions

adversely impacted the class’s recovery, this Court should conclude that

the District Court did not abuse its discretion in declining to reject the

settlement because of those provisions.

     E.    Mr. Frank did not Preserve any Argument Below Related to
           the “Method of Distribution” under Rule 23(e)(2)(C)(ii).

     Although Mr. Frank’s brief is not entirely clear, it appears that he

may be arguing for the first time on appeal that the claims process in

this case was ineffective under Rule 23(e)(2)(C)(ii). See Appellants Br.

pp. 34-37. As he has in other cases, Mr. Frank seems to be arguing on

appeal that a claims process requiring submission of a claim form, even


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electronically, is not sufficiently effective and that directly mailing a

check to the class members would have been more effective.

     He made no claim below before the Magistrate Judge or the

District Court Judge that the claims process in this case was at all

burdensome—it is not—or that filing a claim electronically was

decreasing the claims rate. Nor did he raise the possibility of direct

mail. Had he made this argument, a proper record could have been

developed. See, e.g., Briseño, 998 F.3d at 1026 (observing under Rule

23(e)(2)(C)(ii) that requiring direct notice to consumers “would likely

not be cost-effective, with administrative and notice costs devouring

most of the settlement fund”).

     Other courts have addressed the issue on appeal. In Gascho, 822

F.3d at 290, the objectors involving gym memberships “assert[ed] that a

check simply should have been mailed to the address listed for each

class plaintiff because common sense dictates that direct payment

would have resulted in a payout greater than 8% of the claims made.”

The Sixth Circuit in rejecting this argument pointed out: “This ignores

the inadequate member data, the number of the checks that would not

have reached the class members and the administrative costs of



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managing that procedure.” Id. The court concluded: “Here, there is

every indication that [counsel] diligently attempted to reach each class

member: multiple forms of notice were provided, including ads in 13

different newspapers, a website, and a dual email and postcard mailing

approach targeting individual class members. The actual claim form

was also short and straightforward.” Id. The same is true in this case.

See also In re Equifax Inc. Customer Data Sec. Breach Litig., No. 1:17-

MD-2800-TWT, 2020 WL 256132, at *8 (N.D. Ga. Mar. 17, 2020), aff'd

in part, rev'd in part and remanded, 999 F.3d 1247 (11th Cir. 2021),

cert. denied sub nom. Huang v. Spector, 142 S. Ct. 431, 211 L. Ed. 2d

254 (2021), and cert. denied sub nom. Watkins v. Spector, 142 S. Ct. 765,

211 L. Ed. 2d 479 (2022) (finding compliance with Rule 23e(2)(C)(ii)

when class member could file claims through "a straightforward claims

process" even though documentation of their out-of-pocket losses was

required since such requirements are "routine" and less stringent than

would be necessary during discovery).

     The Third Circuit, in a case relied on by Mr. Frank, cautioned

against reducing attorneys’ fees based on low claims rate: “There are a

variety of reasons that settlement funds may remain even after an



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exhaustive claims process—including if the class members' individual

damages are simply too small to motivate them to submit claims. Class

counsel should not be penalized for these or other legitimate reasons

unrelated to the quality of representation they provided. Nor do we

want to discourage counsel from filing class actions in cases where few

claims are likely to be made but the deterrent effect of the class action

is equally valuable.” In re Baby Prod. Antitrust Litig., 708 F.3d 163, 178

(3d Cir. 2013).

     This issue should not be addressed for the first time on appeal.

But, regardless, Mr. Frank has not shown that there was in fact

anything ineffective about the actual claims process here, which was an

appropriate process.

III. THE INJUNCTIVE RELIEF IS A PROPER AND VALUABLE
     ASPECT OF THE SETTLEMENT.

     Injunctive relief was an important part of the relief Class Counsel

sought for the Class and, consequently, Class Counsel insisted on, and

obtained, changes to Neuriva’s labeling that ensured that the label and

ancillary marketing did not make false statements. Although Plaintiffs

refused to settle unless Defendants agreed to remove their most

egregious claims from their marketing, Plaintiffs never sought to place


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a monetary value on the injunctive relief to be used to justify a

particular amount of attorneys’ fees.          It was unnecessary since

Plaintiffs’ attorneys’ fee request fell within the percentage range that

the Eleventh Circuit has held is reasonable.

     Instead, as the Magistrate Judge properly noted, the injunction

“should be factored into the overall analysis of the settlement.” D.E.133

p. 4. Given the fact that the Magistrate Judge did not attribute any

specific economic value to the injunctive relief, it is not entirely clear

what Mr. Frank is arguing. Since Mr. Frank does not object to the

monetary relief and given that even if there were a problem with the

attorneys’ fees, they could be reduced, then is Mr. Frank still arguing

that final approval should be reversed based solely on the injunctive

relief? Mr. Frank’s brief does not seem to say.

     He primarily argues that the prospective relief cannot benefit past

purchasers. The Ninth Circuit disagrees. In addressing the question

whether a class representative is entitled to seek prospective injunctive

relief, the Ninth Circuit has held: “Knowledge that the advertisement or

label was false in the past does not equate to knowledge that it will

remain false in the future. In some cases, the threat of future harm may



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be the consumer's plausible allegations that she will be unable to rely

on the product's advertising or labeling in the future, and so will not

purchase the product although she would like to.” Davidson v.

Kimberly-Clark Corp., 889 F.3d 956, 969-71 (9th Cir. 2018).

     Under Davidson, a plaintiff is able to seek injunctive relief in the

false advertising context, even though she is no longer deceived, by

alleging that in the absence of an injunction, “she will be unable to rely

on the product's advertising or labeling in the future, and so will not

purchase the product although she would like to.” Id. at 969-70. Thus,

for class members who would like to purchase the Neuriva products in

the future, injunctive relief would be of value.

     Finally, Mr. Frank criticizes the Magistrate Judge for citing

Poertner as persuasive authority for his decision that the proposed

injunction provided support for approval of the settlement given that

the change in labelling was attributable to the litigation, as Defendants’

change in labelling is in this case. 618 Fed. Appx. at 629. It is no more

inappropriate for the Magistrate Judge to decide in his discretion that

Poertner, an unpublished Eleventh Circuit decision, is supportive of his

decision that it would be for him to find persuasive a decision from

another Circuit. The Court should, therefore, find no abuse of discretion

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in the District Court’s ruling with respect to the settlement’s proposed

injunctive relief.

                             CONCLUSION

      For all the above reasons, this Court should affirm the decision of

the District Court finally approving the parties’ settlement.

Respectfully submitted,

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                  CERTIFICATE OF COMPLIANCE

     This brief complies with the type-volume limitation of Fed. R. App.

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     Dated: 15 August 2022.                     /s/ Martha A. Geer
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                     CERTIFICATE OF SERVICE

     The undersigned counsel for Plaintiffs-Appellants hereby certifies

that she has this day caused a copy of the foregoing document to be filed

with the 11th Circuit Court of Appeals CM/ECF filing system which will

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     Dated: 15 August 2022.                     /s/ Martha A. Geer
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